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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

                         Case No. 8:22-cv-02227-SDM-SPF

 PROCCOR PHARMACEUTICALS, INC.,

                   Plaintiff,

 v.

 WORLD HEALTH PRODUCTS, LLC dba
 GAT SPORT and VITAMIN SHOPPE
 INDUSTRIES LLC dba THE VITAMIN
 SHOPPE,

                   Defendants.
                                          /

                DEFENDANTS’ REPLY TO PLAINTIFF’S
            OPPOSITION (DOC. 116) AND IN SUPPORT OF THE
           MOTIONS FOR PROTECTIVE ORDERS (DOCS. 106, 107)
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        Plaintiff’s Opposition, Doc. 116 (“Opposition” or “Opp.”), lacks legal support

 for its arguments, and noticeably avoids its own admission that the issue is not part of

 the pleadings. Cf. Doc. 110.

        First, after requiring Defendants to seek protective orders Plaintiff now admits

 that its “royalties” damage theory was excluded from this action, and it needs leave to

 add in such a claim—if it can. See Doc. 110; see also infra, § I. That should end the

 inquiry, because the proposed topics were only argued as relevant to that excluded

 damage theory. Doc. 106 at 5-10; Doc. 107 at 5-10. Second, Plaintiff concedes that

 the proposed topics are to support its theory of a hypothetical reasonable royalty

 damage, see Doc. 116-2, ¶ 5. But Eleventh Circuit precedent is clear that hypothetical

 damages are not “actual damages,” and the Lanham Act only allows actual damages.

 See infra, § II; see also 15 U.S.C. § 1117(a). Further, Plaintiff’s cited cases do not support

 an inquiry into a defendant’s licensing practices in determining royalties as actual

 damages, only arms-length licensing by a plaintiff are appropriate. See infra, § III.

 Finally, Plaintiff’s Opposition and requested amendment (Doc. 110), demonstrates

 that these Motions should have been unnecessary. See infra, § IV. Plaintiff failed to

 confer in good faith, and its post hoc attempt to justify its proposed topics reflects why

 Defendants should be awarded their fees for having to bring these Motions.

 I.     Plaintiff Has Now Admitted That Any Claim to a “Reasonable Royalty”
        Was Excluded, Making the Deposition Topics Wholly Irrelevant.

        As Defendants’ argued, the Plaintiff excluded any “lost profits” damage

 theory—including lost royalties—through its previous amendment, making these

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 deposition topics wholly irrelevant to any live issue in this case. Doc. 106 at 5-10;

 Doc. 107 at 5-10. After requiring Defendants to seek protective orders, Plaintiff

 conceded the point and moved for leave to amend, to add in a claim for “a reasonable

 royalty” within the prayer for relief. Doc. 110; see also Doc. 110-1 at 6. Plaintiff

 conceded the amendment is necessary in order to pursue its theory of hypothetical

 “reasonable royalty” damages. See Doc. 110 at 4. This admission clarifies that the

 proposed deposition topics do not relate to any live issue in this case, and are therefore

 not relevant, disproportional to the needs of the case, and unduly burdensome and

 harassing, Doc. 106 at 10-15; Doc. 107 at 10-16.

 II.    Plaintiff Admits That the Topics are Only Relevant to a Claim For
        Hypothetical Royalties, Which Is Not Permissible.

        Plaintiff conflates lost royalties, which are sometimes available as actual

 damages, with its request to pursue hypothetical royalties, which are not—a

 distinction emphasized even in Plaintiff’s cases. See, e.g., ADT & ADT US Holdings, Inc.

 v. Alarm Protection LLC, No. 9:15-CV-80073-Rosenberg/Hopkins, 2017 U.S. Dist.

 LEXIS 75046, *13 (S.D. Fla. May 17, 2017) (“Here, Plaintiffs are not seeking

 compensation from a hypothetical system—their position is that they are seeking to

 recover damages from Defendants according to the economic system by which

 revenue is obtained—past and present—from their dealers.”) (emphasis added). The

 law does not support Plaintiff’s hypothetical royalty damage theory; the deposition

 topics are therefore wholly irrelevant to the issues in this action.

        Plaintiff cites Howard Johnson Co. v. Khimani, 892 F.2d 1512, 1591 (11th Cir.

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 1990) and Bandag, Inc. v. Al Bolser’s Tire Stores, Inc., 750 F.2d 903, 920 (Fed. Cir. 1984),

 incorrectly believing these cases support hypothetical royalty damages. Opp. at 2-3.

 They do not. In Howard Johnson, the Eleventh Circuit affirmed a sanctions award

 against a holdover franchisee that violated an injunction. See, e.g., 892 F.2d at 1514-

 15. The court explained, though, that this was the actual damage, calculated from

 royalty payments it would have received had the defendants remained franchisees. Id. at

 1519.    Howard Johnson does not authorize hypothetical royalties.               Rather, lost

 royalties were appropriate based on a contract. See id. at 1514-15, 1519-20.

         Similarly, the Federal Circuit affirmed a damage award in Bandag where the

 “defendant falsely represented that it was a franchisee of plaintiff,” explaining:

         [T]he appropriate measure of damages would be to treat defendant as if it were
         in fact a franchisee of plaintiff and to award to plaintiff in damage the amount
         in dollars which defendant would have had to pay to plaintiff as a royalty and
         service fee had defendant been in fact a Bandag franchisee.

 Bandag, 750 F.2d at 919. In Bandag, there was an established franchise fee to apply.

 See ibid. Bandag also relied on Boston Prof’l Hockey Assoc. v. Dallas Cap Mfg., 597 F.2d

 71 (5th Cir. 1971), where the Former Fifth Circuit affirmed a lost royalty damage

 where “the district court found the defendant merely appropriated what it had been

 unable to obtain by bargaining and calculated an element of the damages based on

 the” defendant’s licensing offer. Bandag, 750 F.2d at 920. Bandag merely confirms

 that lost royalties can be actual damages, but hypothetical royalties are not. See also

 Ramada Inns, Inc. v. Gadsen Motel Co., 804 F.2d 1562, 1565 (11th Cir. 1986) (permitting

 actual lost royalties while reaffirming that hypothetical damages are impermissible).


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        In Ramada Inns, the Eleventh Circuit affirmed lost royalties as actual damages

 to a franchisor based on the acts of a holdover licensee, while reaffirming that theoretical

 (or hypothetical) damages are not permitted. Ramada Inns, 804 F.2d at 1565. The

 court explained that the “award represented franchise fees or ‘royalties’ lost during the

 infringement period. This was entirely proper: ‘Royalties normally received for the

 use of a mark are the proper measure of damages for misuse of those marks.’” Ibid.

 (quoting Holiday Inns. v. Airport Holiday Corp., 493 F. Supp. 1025, 1028 (N.D. Tex.

 1980) (citing Boston Prof’l, 597 F.2d 71)). The court also reaffirmed its holding from

 St. Charles Mfg. Co. v. Mercer, 737 F.2d 891 (11th Cir. 1983), that the Lanham Act does

 not permit a trademark holder to recover theoretical damages. Ramada Inns, 804 F.2d

 at 1565 (explaining and contrasting with St. Charles). “Hypothetical” or “speculative”

 damages are not available under the Lanham Act. Ibid. Thus, Ramada Inns establishes

 that Plaintiff cannot recover hypothetical damages.

        Plaintiff also cites Sands, Taylor & Wood v. Quaker Oats Co., 34 F.3d 1340 (7th

 Cir. 1994), Opp. at 3, described as “anomalous” for using hypothetical “reasonable

 royalty” calculations, see Nat’l Fire Prot. Ass’n v. Int’l Code Council, Inc., No. 03-10848,

 2006 U.S. Dist. LEXIS 14360, *92-93 (D. Mass. Mar. 29, 2006) (noting that no other

 courts permit a royalties award “without evidence of a prior licensing relationship or

 when the parties had not shown a willingness to license the mark.”); see also Trovan,

 Ltd. v. Pfizer, Inc., No. 98-0094, 2000 U.S. Dist. LEXIS 7522, *51-59 (C.D. Cal. May

 25, 2000) (discussing Sands). But as the district court explained in Action Ink, Inc. v.


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 Anheuser-Busch, Inc., No. 12-141, 2012 U.S. Dist. LEXIS 180250 (E.D. La. Dec. 20,

 2012), Sands does not actually support a hypothetical reasonable royalty claim as

 damages; rather, the “reasonable royalty” base was to limit the damage award and

 prevent a windfall. Id. at *4 (“[I]n Sands, the Seventh Circuit Court of Appeals had

 previously determined that the trial court calculated incorrectly the plaintiff’s

 monetary award, and thus it required the trial court to establish a baseline reasonable

 royalty to determine the appropriate award.”) (citing Sands, 34 F.3d at 1343). As

 articulated in Action Ink, Sands does not hold that a reasonable royalty is permissible

 as actual damages in a trademark case; rather, it was used as a way of recalculating and

 limiting the actual damage award. Ibid. And critically, the “royalty” used in Sands was

 based only on the plaintiff’s past licensing practices—not the defendant’s past practices.

 Ibid. Notably, Action Ink addressed this point to explain why it was excluding the

 plaintiff’s proposed Rule 30(b)(6) topics directed to the defendant’s past licensing

 practices, 2012 U.S. Dist. LEXIS 180250, at *3-5, the very issue raised here.

       Plaintiff cites ADT in support of hypothetical reasonable royalty damages. See

 Opp. at 4-5.      But ADT distinguished between permissible lost royalties and

 hypothetical “reasonable royalties.” See ADT, 2017 U.S. Dist. LEXIS 75046 at *12-

 13 (“Here, Plaintiffs are not seeking compensation from a hypothetical system . . . .”).

 Further, in permitting lost royalties, the ADT court looked only to the plaintiffs existing

 licensing with its dealers to measure actual damages. Id. at *14-15.

       Plaintiff cites Gucci Am. Inc. v. Guess?, Inc., 858 F. Supp. 2d 250 (S.D.N.Y. 2012)


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  (“Gucci I”), which stated:

         A plaintiff in a trademark action may recover a ‘reasonable royalty’ under
         the heading of actual damages. However, because [reasonable royalties]
         are inherently difficult to calculate in a vacuum, courts often decline to
         award such damages unless parties had a prior licensing agreement.
         Even in cases without such agreement, however, courts have awarded or
         approved of “reasonable royalty” damages if the evidence provides a
         sufficiently reliable basis from which to calculate them.

  858 F. Supp. 2d at 253-54 (footnotes omitted). Plaintiff selectively omits the court’s

  explanation to misleadingly suggest this supports hypothetical royalties. Opp. at 5.

         But after declining to exclude an expert report, the court reviewed the issue

  more carefully and concluded that reasonable royalties were not permissible for the

  alleged trademark infringement. Gucci Am., Inc. v. Guess?, Inc., 868 F. Supp. 2d 207,

  236-37, 254 (S.D.N.Y. 2012) (“Gucci II”).          The court recognized a hypothetical

  reasonable royalty was improper and that the expert report was entitled to no weight.

  Gucci II, 868 F. Supp. 2d at 236-37. As a second, independent reason, the court

  recognized that a royalty was improper because the defendant “could easily avoid

  paying the royalty by making minor changes to the designs,” and therefore it would

  not have entered into any such hypothetical royalty agreement. Id. at 236-37.

         Plaintiff also cites On Site Energy Co. v. MTU Onsite Energy Co., No. 10-CV-1671

  (JS) (WDW), 2012 U.S. Dist. LEXIS 100690, *4 (E.D.N.Y. July 19, 2012) which also

  denied a motion to exclude an expert opinion, rejecting the argument that royalties are

  irrelevant “where the parties have no history of trademark licensing.” As that court

  explained, such damages are “seldom-used” and difficult to quantify, but there is not

  a per se rule against them. Ibid. (citing Coryn Group II, LLC v. O.C. Seacrets, Inc., No. 08-
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  CV-2764, 2010 U.S. Dist. LEXIS 30719, *30-31 (D. Md. Mar. 30, 2010)). 1 But that

  case does not address whether a defendants’ licenses are relevant, and therefore fails to

  support Plaintiff’s argument. Further, a few weeks after that order issued, a jury held

  the mark was invalid both for fraud on the USPTO and because mark was held generic.

  See 2013 U.S. Dist. LEXIS 109009, *2-3 (E.D.N.Y. Aug. 2, 2013).

         Confusingly, Plaintiff cites Buzz Off Insect Shield, LLC v. S.C. Johnson & Sons, Inc.,

  606 F. Supp. 2d 571, 585 (M.D. N.C. 2009) which did not hold that reasonable

  royalties were permissible. Rather, the court rejected a motion to amend a jury’s

  damage determination, where both parties presented royalty theories, because (1) the

  defendant had not objected to a royalty theory being presented and (2) the amount was

  capable of being affirmed on several alternate theories. Id. at 583-87. Similarly, adidas

  America, Inc. v. Payless Shoesource, Inc., No. CV 01-1655, 2008 U.S. Dist. LEXIS 69260,

  *29-33 (D. Or. Sept. 12, 2008), also addressed a post-trial order. But there, the legal

  reasoning for the using theoretical damages was based on patent damages, which

  authorize them by statute. See id. at *32-33; cf. 35 U.S.C. § 284.

         The Eleventh Circuit and the weight of authority, however, hold that

  hypothetical damages are not permissible in trademark cases.

  III.   Plaintiff’s Opposition Confirms That Defendants’ Trademark Licenses Are
         Irrelevant and Therefore the Topics Have No Relevance to This Action.

         Additionally, Plaintiff’s cases make clear that the Defendants’ licenses are



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       While Coryn stated there was no per se rule against hypothetical royalties, it recognized myriad
  cases holding them impermissible. 2010 U.S. Dist. LEXIS 30719, at *28-31 and n.21, 22.
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  irrelevant in any permissible lost royalty theory. See, e.g., ADT, 2017 U.S. Dist. LEXS

  75046 at *13-15; Action Ink, 2012 U.S. Dist. LEXIS 180250, *4 (granting protective

  order on defendant’s licensing because only the plaintiff’s past licensing practices could

  be potentially relevant); Sands, 34 F.3d at 1343-44 (basing the permitted royalties on

  the plaintiff’s prior licenses and policies). That inquiry focuses on a plaintiff’s arms-

  length licensing activity. See Thrive Natural Care v. Thrive Causemetics, No. CV 20-9091

  PA (ASx), 2021 U.S. Dist. LEXIS 201284, *16-17 (C.D. Cal. Oct. 6, 2021) (explaining

  that only a plaintiff’s arms-length licensing practice is relevant).

         Accordingly, the deposition topics have no relevance even under Plaintiff’s

  theory of hypothetical damages.

  IV.    Defendants Should be Awarded Rule 37 Fees.

         Plaintiff’s Opposition and motion to amend (Doc. 110) have confirmed that it

  should not have been necessary for Defendants to bring these Motions. See Doc. 106

  at 15-16; see also Doc. 107 at 16-17. Plaintiff is seeking deposition topics to pursue

  hypothetical damages, without legal support, and it concedes that it excluded that

  theory through its last amendment. Defendants should be awarded Rule 37 fees.

                                      CONCLUSION

         For the reasons addressed above and in Defendants’ Motions (Docs. 106, 107),

  the Defendants respectfully request that (1) the Court grant the requested protective

  orders and prohibit Plaintiff from deposing the Defendants on the identified topics,

  and (2) award Defendants their reasonable fees for having to bring these motions.



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                                     Respectfully submitted,

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